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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF ALABAMA
                              NORTHERN DIVISION

JEFFREY ROBERT MCCORMICK,                   )
#255 756,                                   )
      Plaintiff,                            )
                                            )
       v.                                   ) CIVIL ACTION NO. 2:14-CV-602-MHT
                                            )              [WO]
SGT. SASSER, et al.,                        )
                                            )
       Defendants.                          )



               RECOMMENDATION OF THE MAGISTRATE JUDGE

       Plaintiff filed this 42 U.S.C. § 1983 complaint on June 17, 2014, accompanied by a

request for leave to proceed in forma pauperis. Upon review of Plaintiff's request to proceed

in forma pauperis, the court concluded the motion also contained a request to waive pre-

payment of the initial partial filing fee. See Doc. No. 2 at 3. Plaintiff requested his complaint

not be filed “if pre-payment isn’t waived.” Id. By order filed June 19, 2014, the court denied

the motion advising Plaintiff this court must, under 28 U.S.C. § 1915(b)(1), “assess and,

when funds exist, collect” the $350.00 filing fee from monies available to Plaintiff, when the

amount in Plaintiff’s account exceeds $10.00. Doc. No. 3. The court's June 19 order further

advised Plaintiff the court may not waive or temporarily exempt Plaintiff from compliance

with the statutory provisions regarding payment of filing fees. Id.

       Plaintiff then filed request he be allowed to proceed with this action by paying the
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initial partial filing fee in ten weekly $35.00 payments. Doc. No. 4. By order entered June 26,

2014, the court denied Plaintiff's motion and informed him the statutory provisions regarding

payment of filing fees under 28 U.S.C. § 1915(b)(1) dictates how the initial partial filing fee

is calculated and how the remaining balance of the filing fee is calculated. Doc. No. 5. The

court's June 26 order granted Plaintiff an extension to file a response in accordance with the

directives of the June 19, 2014, order, and he was cautioned his failure to respond as

instructed to the court’s orders would result in a Recommendation that the complaint be

dismissed without prejudice. Id.

        Plaintiff has filed no response to the June 26, 2014, order and the time to do so has

expired. Consequently, the court concludes that dismissal is appropriate for Plaintiff’s failure

to comply with the orders of the court. See Moon v. Newsome, 863 F.2d 835, 837 (11 th Cir.

1989) (As a general rule, where a litigant has been forewarned, dismissal for failure to obey

a court order is not an abuse of discretion.); see also Tanner v. Neal, 232 Fed. Appx. 924

(11th Cir. 2007) (affirming sua sponte dismissal without prejudice of inmate’s § 1983 action

for failure to file an amendment to complaint in compliance with court’s prior order directing

amendment and warning of consequences for failure to comply); also Link v. Wabash R.R.,

370 U.S. 626, 630 (1962) (interpreting Rule 41(b) not to restrict the court’s inherent authority

to dismiss sua sponte an action for lack of prosecution).




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       Accordingly, it is the RECOMMENDATION of the Magistrate Judge this case be

DISMISSED without prejudice for Plaintiff's failure to comply with the orders of this court.

       It is further

       ORDERED that on or before July 31, 2014, Plaintiff may file an objection to the

Recommendation. Any objection filed must specifically identify the findings in the

Magistrate Judge's Recommendation to which Plaintiff objects. Frivolous, conclusive or

general objections will not be considered by the District Court. Plaintiff is advised this

Recommendation is not a final order and, therefore, it is not appealable.

       Failure to file a written objection to the proposed findings and recommendations in

the Magistrate Judge's report shall bar a party from a de novo determination by the District

Court of issues covered in the report and shall bar a party from attacking on appeal factual

findings in the report accepted or adopted by the District Court except upon grounds of plain

error or manifest injustice. Nettles v. Wainwright, 677 F.2d 404 (5 th Cir. 1982). See Stein

v. Reynolds Securities, Inc., 667 F.2d 33 (11th Cir. 1982). See also Bonner v. City of

Prichard, 661 F.2d 1206 (11th Cir. 1981) (en banc), adopting as binding precedent all of the

decisions of the former Fifth Circuit handed down prior to the close of business on

September 30, 1981.




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Done, this 17 th day of July 2014.




                             /s/Terry F. Moorer
                             TERRY F. MOORER
                             UNITED STATES MAGISTRATE JUDGE




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